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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


    RASHEED McCLEBB,

                   Petitioner,

          v.                                                             Case No. 25-cv-172-BWA-DPC
                                                                         Section M
    SUSAN HUTSON,                                                        Division 2

                   Respondent.




                CONSENT MOTION FOR STAY OF STATE COURT PROCEEDINGS

         Petitioner, through counsel and pursuant to 28 U.S.C. § 2251, requests that the Court stay

any further proceedings in State of Louisiana v. Rasheed McClebb, Case No. 557-316, Section “C”

of the Criminal District Court, Parish of Orleans, during the pendency of the petition for writ of

habeas corpus, which Petitioner filed in this matter on January 25, 2025. Mr. McClebb is currently

scheduled for retrial on March, 31, 2025. The State of Louisiana, through the Orleans Parish

District Attorney’s office1, has no objection to this motion with the understanding that the stay

would suspend time limitations on the commencement of trial pursuant to La. C.Cr.P. art. 580. Mr.

McClebb agrees.

         The Court is broadly authorized to stay state court proceedings pursuant to 28 U.S.C. §

2251(a)(1), which provides that in cases where a habeas corpus petition is pending before a judge

of the United States, the federal court “may, before final judgment . . . stay any proceeding against

the person detained in any State court or by or under the authority of any State for any matter


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  Although the Orleans Parish District Attorney’s office has not made an appearance in this matter, the chief of appeals
informed undersigned counsel that their office will be assigned to this matter if a response is ordered by this Court.
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involved in the habeas corpus proceeding.” Section 2251(b) provides that, “[a]fter the granting of

such a stay, any such proceeding in any State court or by or under the authority of any State shall

be void.”

                                       REQUEST FOR RELIEF

       For the foregoing reasons, Petitioner requests that the Court immediately stay any further

proceedings in state court pending resolution of the claims raised in his habeas petition.


                                                      Respectfully submitted,


                                                      ____/s/Caroline Gabriel _____________
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